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                             United States District Court
                                  District of South Dakota
                                         Office of the Clerk

 Central/Northern Division                Southern Division                    Western Division
 P.O. Box 7147                            400 South Phillips,                  515 Ninth Street,
 Pierre, SD 57501                         Room 128                             Room 302
                                          Sioux Falls, SD 57104                Rapid City, SD 57701

Matthew W. Thelen                                                                         Telephone
Clerk of Court                                                                        (605) 330-6600



                                          October 5, 2022

                TRANSMITTAL OF NOTICE OF APPEAL IN A CIVIL CASE


 1.    Case No. & Short Caption:                       3:22-cv-3008; Lower Brule Sioux Tribe et
                                                       al. v. Lyman County et al

 2.    Date Notice of Appeal filed:                    October 4, 2022; Doc. 92

 3.    Have other appeals been filed in this           Yes; 22-02748
       case? If so, Appeal No.:

 4.    Court Reporter:                                 Connie Heckenlaible
                                                       225 S. Pierre St., 2nd Floor
                                                       Pierre, SD 57501
                                                       605-945-4627
                                                       Connie_heckenlaible@sdd.uscourts.gov
 5.    Fee Status:

                    ☒ Paid   ☐ Not Paid ☐ IFP granted ☐ IFP Pending

 NOTE: If this is a prisoner civil appeal, do not transmit the appeal until the filing fee has been
 paid or the district court rules on IFP. Otherwise, the Eighth Circuit will issue a limited
 remand.

 6.   Are there any other pending motions?             Yes
      If yes, list pending motions and
      document numbers:                                Doc. 83, Second Motion to Dismiss for
                                                       Lack of Jurisdiction; Doc. 86, Motion to
                                                       Stay Discovery – Expedited Consideration
                                                       Requested; Doc. 90, Motion to Expedite
                                                       Briefing on Motion to Stay Discovery
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7.   If this is a §2255 or §2254 appeal, has       n/a
     there been a ruling on COA?

NOTE: Do not transmit the appeal until the district court rules on the COA or the Eighth
Circuit will issue a limited remand

8.   Additional comments:                          None


                                                  Office of the Clerk
